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                        Exhibit 5
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                       Expert Report of Phillip S. Cuculich, MD

       In Re: Xarelto (Rivaroxaban) Products Liability Litigation (MDL-2592)
                                 October 14, 2016


Introduction

I have been asked to offer general opinions regarding the risks related to the clinical use
of rivaroxaban (Xarelto), specifically as it relates to stroke risk reduction related to the
heart rhythm disorder known as atrial fibrillation (AF). In preparation of this report, I
have reviewed numerous materials, which are outlined in a separate attachment to this
report (Appendix A).

In addition to the above-described materials, I also rely on my background, education,
training and clinical experience as described below, as well as the relevant published
literature. Please note that all of the following statements and opinions, unless
otherwise stated, are made with a reasonable degree of medical and scientific certainty.
I have applied the same method of review and analysis as I use in my clinical and
academic practice. I also reserve the right to amend these opinions as new information
becomes available to me.


Background and Qualifications

Attached to this report is my curriculum vitae that more fully describes my background,
education and training (Appendix B). Briefly, I am a licensed physician practicing in the
state of Missouri. I attended medical school at the Vanderbilt University School of
Medicine (Nashville, TN), receiving my degree in 2001. I completed my training in
Internal Medicine at Northwestern University at the McGraw Medical Center (Chicago,
IL), where I was invited to be the Chief Medical Resident. I completed advanced
fellowships in Cardiovascular Diseases and Clinical Cardiac Electrophysiology, both at
Washington University at Barnes-Jewish Hospital (St. Louis, MO). I have been an
attending physician at Barnes-Jewish Hospital since 2009 where I currently practice
Cardiovascular Medicine and Cardiac Electrophysiology (heart rhythm disorders). In
clinical care, I treat patients in both the outpatient and inpatient settings, including
Cardiac ICU care. A major component of my daily practice involves the treatment of
patients with atrial fibrillation. I am routinely asked to evaluate patients’ candidacy for
oral anticoagulation or cardiac procedures to prevent AF-related strokes. I perform
catheter ablations to treat atrial fibrillation, which involves inserting long thin catheters
into the heart and meticulously heating precise areas of the heart that harbor AF
electrical circuits. I also have performed invasive cardiac procedures to close the left
atrial appendage, the area of the heart thought to be the source for many blood clots
that cause strokes.




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Over the course of my career, I have cared for many patients who have suffered from
AF-related complications, including strokes and severe bleeding as a consequence of
the blood thinner medications to reduce stroke risk; both the acute effects and the
longer-term consequences. In collaboration with the Stroke Team at Barnes-Jewish
Hospital, I have created a Clinical Carepath to facilitate methods for rapid and accurate
identification of AF in patients who have suffered from cryptogenic strokes through the
means of a tiny injectable heart monitor. In this document, I may call upon personal
examples of patients who have asked me my opinions regarding blood-thinner use,
which can only be addressed in a patient-specific manner.

My research at the Washington University School of Medicine is far-reaching and
largely revolves around better understanding heart rhythm diseases and consequences
of these disorders. I am currently an Associate Professor of Medicine at the Washington
University School of Medicine. For additional background regarding my clinical and
research activities, and publications authored by me in the last ten or more years,
please refer to my curriculum vitae that is attached to this report (Appendix B). Besides
research and clinical practice, I teach Cardiovascular Medicine and Electrophysiology to
medical students, residents, and fellows throughout Washington University affiliated
training programs. I have won various teaching and research awards in this capacity.

I have written multiple textbook chapters on cardiovascular medicine and
electrocardiography, and I am an editor of two editions of popular textbooks in
cardiovascular medicine, “Washington Manual Cardiovascular Medicine Subspecialty
Consult.” Several chapters in these books are devoted to mechanisms, treatment, and
prevention of cardiovascular diseases, atrial fibrillation, strokes and bleeding risks.

My prior testimony for the past four years and my fee schedule for this litigation are
attached to this report (Appendix C & D).


Summary of Opinions

   1) Anticoagulants (blood thinners) reduce the risk of thromboembolism (traveling
      blood clots that cause strokes) in patients with atrial fibrillation (AF). However, in
      doing so, they increase risks of bleeding events, which can be life threatening.
      The gold standard of blood thinners is warfarin. Because of the serious risks,
      there is a system-wide obligation to provide the safest methods of administration
      of blood thinners.

   2) “Precision Medicine” is a popular term that defines the current direction of human
      medical care. A main tenet of precision medicine is that individuals have unique,
      patient-specific risks for diseases, and unique, patient-specific effects to
      treatments. Decisions to use blood thinners take into account a number of clinical
      factors. Safe, appropriate, responsible ways to administer the blood thinners
      recognize the individual patient’s risk of variability of a drug metabolism and
      effect.


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 3) Rivaroxaban (Xarelto) was approved by the US FDA in November 2011 to
    reduce the risk of stroke and systemic embolism in patients with nonvalvular
    atrial fibrillation. It was marketed as a once-daily blood thinner that did not require
    blood testing because the effect was very predicable across all populations and
    the medication had a large therapeutic window (range of blood concentration that
    was both safe and effective). Moreover, prescribers were told there were no
    approved ways to measure the effect of the drug because testing was not
    necessary.

 4) To help my patients make the best decisions about the appropriateness and
    safety of rivaroxaban, I counsel them using information from published clinical
    trials, the package insert, and information received from Bayer/Janssen
    representatives. Unfortunately, all three of these avenues of information offered
    misleading information.

    a.      CLINICAL TRIAL: The pivotal trial for the use of rivaroxaban for the
    prevention of stroke in patients with atrial fibrillation (ROCKET-AF) was
    inadequate in the following important ways: A) the control arm using warfarin
    was managed in a historically poor way (very low time in therapeutic range (TTR)
    for patients taking warfarin); and B) the warfarin testing device (point-of-care INR
    monitor from Alere) produced inaccurate INR levels. Therefore, ROCKET-AF
    does not provide a reliable comparison between the use of rivaroxaban and well-
    controlled warfarin, especially in the US.

    b.     PACKAGE INSERT: The product label for rivaroxaban was inadequate
    at product launch. The rivaroxaban product insert should have contained: A) a
    black box warning for bleeding risk, like warfarin; B) for US FDA approval, data
    using US-only centers should be shared; C) available pharmacokinetic data,
    ideally with ranges (5/95 percentiles) for treating physicians to assess the inter-
    patient variability of this medication; D) advice regarding methods to test drug
    concentration or bleeding effect, particularly with prothrombin (PT), which in
    pharmacokinetic and pharmacodynamic studies demonstrated a significant
    number of “super-responders” who are at risk for bleeding; E) clinically actionable
    data recommendations regarding bleeding events while on this medication.

    c.     BAYER/JANSSEN REPRESENTATIVES: Information shared from
    Bayer/Janssen representatives with prescribers, including me, reinforced the
    notion that blood testing was not needed for safe administration of rivaroxaban.
    In contradiction to what was told to prescribers like me, rivaroxaban has a
    narrow therapeutic window. That is, the difference between the amount of
    rivaroxaban necessary to properly anticoagulate, and the amount that would put
    a patient at increased risk of significant bleeding, is fairly small. Also,
    rivaroxaban actually has a higher inter-patient variability than prescribers
    like me were led to believe. In short, a single dose does not safely treat all
    patients.


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   5) To maximize the safety for our patients taking blood thinners using precision
      medicine principles, prescribers would welcome: A) a way to measure the
      plasma concentration or anticoagulant effect of the medication in a patient-
      specific way with; B) dosing adjustment to tailor the perfect amount of
      anticoagulant effect while avoiding unnecessary bleeding; C) an antidote to
      rapidly reverse bleeding effect in case of a life-threatening bleeding event.
      Bayer & Janssen failed to provide this critical blood testing, advice on dosing
      adjustments, and reversal agents to prescribers, routinely citing that such testing,
      dosing adjustments and reversal agents were not necessary. In short, patient
      safety could be significantly improved, but patient safety was not a first
      priority. A single blood test (PT with Neoplastin reagent) is an effective way to
      screen for “super-responders” who are unwittingly exposed to significantly
      increased bleeding risk. According to the FDA advisory committee, this
      population may represent up to 25% of patients in the ROCKET-AF study.

BACKGROUND:         EPIDEMIOLOGY         AND     STROKE     PREVENTION        IN   ATRIAL
FIBRILLATION

Atrial fibrillation is the single most common heart rhythm disorder. Recent evidence
suggests that in 2010, AF affected 33.5 million people worldwide, and its prevalence
continues to grow. In the United States alone, roughly 4 million people have AF.
Prevalence increases with advancing age. For Americans of European descent who are
40 years old, the lifetime chance of developing AF is ~ 25%.

Patients with AF have widely variable symptoms, ranging from being completely
unaware of the heart rhythm disorder to being nearly incapacitated by the symptoms.
Decisions regarding the intensity of treatment are tailored to each patient, largely guided
by the severity of symptoms. Similarly, stroke risks related to AF range widely, and
decisions regarding stroke-reduction therapies are tailored to each patient. The
treatments to reduce stroke risk are almost always oral anticoagulation (blood thinners).
Decisions to use oral anticoagulation are based on competing increased risks of
bleeding with reduction of risk of stroke. Recent guidelines published from the American
College of Cardiology/ American Heart Association/ Heart Rhythm Society support the
regular use of a scoring system (CHA 2 DS 2 -VASc) to identify patient characteristics that
suggest higher risk for stroke (Figure 1). In general, the more high-risk features, or the
more points on the scoring system, the higher the annual risk of stroke. Guidelines
support the use of oral anticoagulation in most patients with a yearly risk of a stroke that
exceeds 2% (red line).




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Figure 1. CHADS-VASC Scoring System




                   (Adapted from Lip G, et al. Chest, 2010)

The main drawback to oral anticoagulation is the increased risk of bleeding. Several
scoring systems have been developed and validated, highlighting particular patient-
specific factors that increase the risk of bleeding (Figure 2). Of note, the HAS-BLED
scoring system identified patients who were at increased risk of bleeding based on
clinical risk factors and monitoring the levels/effects of blood thinners medication.
Variations or extremes of blood thinner effect, measured with widely-available
monitoring, carry bleeding risk.

Figure 2. HAS-BLED Scoring System




                   (Adapted from Pisters R, et al. Chest 2010)

Decisions by treating physicians to use oral anticoagulation for patients with AF are
tailored toward patient-specific conditions and preferences, which attempt to balance
the potential benefits with the known bleeding risks.




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THE STANDARD: ORAL ANTICOAGULATION WITH WARFARIN

From 1954 to 2010, the only oral anticoagulant that was available to reduce stroke risks
in patients with atrial fibrillation was warfarin. This medication has been the gold
standard for oral anticoagulation for decades. The development of warfarin began in
1920, with an outbreak of bleeding-related deaths among cattle near the US-Canada
border. Two decades later, testing linked these deaths to spoiled sweet clover that was
ingested by the animals. The responsible compound was purified and tested at the
Wisconsin Alumni Research Foundation (WARF) and eventually marketed as a
rodenticide in 1948. In 1954, it was approved by the US Food & Drug Association for
medical use. It was not until 1978 that the mechanism of the drug was discovered
(vitamin K-epoxide reductase inhibitor).

Because of the high degree of inter-patient and intra-patient variability related to the
pharmacokinetics of the drug, dose variability is affected by age, race, body weight,
gender, concomitant medications, comorbid conditions, genetic factors and dietary
vitamin K. It is a drug with a narrow therapeutic range, and anticoagulation must be
carefully monitored to avoid life-threatening situations. This is accomplished through
frequent blood plasma measurements of prothrombin time (PT), standardized to an
international ratio (INR). Regular monitoring is indicated for all patients who start and
maintain on this medication. Dosing is adjusted based on the results of the PT/INR
blood test. Because of the frequent dose adjustments and blood draws, patient
compliance with warfarin can be limited.

The most obvious and common concern with warfarin is major or fatal bleeding. This is
most common within the first month of initiation. There are a number of factors that have
been associated with bleeding risk (see package insert), with the most predictive being
elevated levels of anticoagulant effect (INR>4.0). In various randomized clinical trials
with warfarin to prevent AF-related strokes, the overall risk of major bleeding ranged
from 0.6% to 2.7% over the course of the study. A “black-box warning” was added to
warfarin’s product label in 2006 due to life-threatening bleeding. Fortunately, there are
relatively fewer deaths linked to warfarin-related bleeding because warfarin has several
reversal agents. For less urgent reversal, oral or intravenous vitamin K can be
administered. For more urgent reversal, fresh frozen plasma is commonly used.
Moreover, vigilant monitoring of the bleeding effect with periodic blood tests drastically
reduces risks of bleeding with warfarin and is currently the standard of care for the use
of this medication.

Warfarin has repeatedly been shown to reduce the rates of AF-related strokes in
multiple clinical trials (Figure 3). The relative effect of stroke reduction ranges from 45%
to 76% compared to placebo.




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Figure 3. Clinical Trials Supporting Warfarin Use for Stroke Risk Reduction




                     (Adapted from Petersen P, et al Lancet 1989; EAFT Lancet 1993;
                     Cohen et al, Circulation 1991; Blackshear L, et al Lancet 1996)

   •   64% mean relative risk reduction (RRR)
   •   2.7% absolute risk reduction (ARR) per year
   •   Number of patients needed to treat (NNT) each year to prevent one stroke is 37.
   •   NNT of patients who had a prior stroke or TIA each year to prevent one stroke is
       12.

As such, warfarin receives the strongest recommendation for prevention of AF-related
stroke in patients with elevated risk and is the comparator gold standard drug to which
other blood thinners are compared. Warfarin is also a medication that embodies the
very important contemporary concept of “precision medicine.” This direction of clinical
practice has gained tremendous momentum rover the past several decades and
recognizes that people are fundamentally different from each other. As such, treatment
options and doses should be tailored to each individual to maximize the effect and
minimize the risk. In the example of warfarin, patients are evaluated regularly for blood
thinner effect and the dose of the medication is adjusted. If the blood test is too low,
patients are at higher risk of for ischemic (clot-related) events. If the blood test is too
high, patient are at risk for bleeding events. The “therapeutic window” is the ideal effect
of the medication, maximizing the effect while minimizing the risk. In the case of
warfarin, the “therapeutic index” is identified with the blood test (INR) result between 2.0
and 3.0 (see Figure 4).




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Figure 4. Warfarin Therapeutic Index: Incidence Rates of Ischemic Stroke and
Intracranial Hemorrhage Among Patients with Nonvalvular Atrial Fibrillation Taking
Warfarin.




(Adapted from 2006 ACC/AHA/ESC Guidelines for Management of Patients with Atrial
Fibrillation)

Using this patient-tailored method, patients are treated in the safest and most effective
ways. Unfortunately, warfarin exhibits significant intra-patient variability; that is, in the
same patient using the same dose of medication, there may be a wide range of effect at
any point in time. Also, warfarin exhibits wide inter-patient variability; that is, between
patients on the same dose of medication across a population, there may be significant
differences in the effect of the medication. Simply put, in the case of blood thinners like
warfarin, the practice of precision medicine requires the ability to test the effect or
plasma level of a medication.




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HOW RIVAROXABAN (XARELTO) WAS DEVELOPED AND APPROVED FOR USE

Rivaroxaban (Xarelto) was developed and manufactured by Bayer, and is marketed in
the United States through a joint partnership between Bayer and Janssen. It is a direct
Factor-Xa inhibitor and a member of the class commonly referred to as the new oral
anticoagulants (NOACs), comprised of Xarelto (rivaroxaban), Pradaxa (dabigatran),
Eliquis (apixaban), and Savaysa (edoxaban), which were developed to offer an
alternative to warfarin, the gold standard in oral anticoagulation. Based upon
submission by Janssen and Bayer, the Food and Drug Administration (FDA) approved
Xarelto for three indications: 1) the prophylaxis of deep vein thrombosis (DVT) and
pulmonary embolism (PE) in patients undergoing hip or knee replacement surgeries
(approved July 1, 2011); 2) to reduce the risk of stroke and systemic embolism in
patients with non-valvular atrial fibrillation (approved November 4, 2011); and 3) the
treatment of DVT and/or PE and the reduction in recurrence of DVT and/or PE
(approved November 2, 2012). Xarelto is available in doses of 20mg, 15mg, and 10mg.

This report will focus mainly on the atrial fibrillation indication, which relied on the pivotal
Phase III clinical trial, Rivaroxaban Once Daily Oral Direct Factor Xa Inhibition
Compared with Vitamin K Antagonism for Prevention of Stroke and Embolism Trial in
Atrial Fibrillation (ROCKET AF). In short, the ROCKET trial found that Xarelto was non-
inferior to warfarin for the prevention of stroke and systemic embolism in patients with
non-valvular atrial fibrillation, with similar rates of major bleeding and non-clinically
significant major bleeding).


HOW RIVAROXABAN WAS MARKETED TO PRESCRIBERS LIKE ME

Bayer/Janssen marketed rivaroxaban with the premise of low inter-patient an intra-
patient variability. One drug dose (20mg PO daily) would safely treat all users with
normal kidney function to reduce the risk of stroke and systemic embolism in patients
with nonvalvular atrial fibrillation. If kidney function was reduced, a lower dose was
recommended (15mg PO daily). No additional blood testing would be necessary over
time. Moreover, a blood test to assess the effect of the medication was not even
available. There was great excitement surrounding this class of medication, because if
the drug dosing and effects were indeed as predictable as it was marketed, it would
address important limitations to warfarin use and inconvenience of frequent blood
testing for patients.

While the concept is appealing, to a skeptical practicing clinician it defied medical logic
to think that one dose of a medication could provide the same effect for all ages, all
sizes, and all confounding characteristics that make each patient unique. As opposed to
“precision medicine,” using a blood thinner without the ability to assess its effect felt like
“flying blind,” trying something new without guidance or instruction.

   •   When it was tested in a large clinical trial (ROCKET-AF), the dosages of
       rivaroxaban were fixed and there were no additional clinical testing for effect of
       blood thinner or any dose-modification for rivaroxaban, suggesting indirectly “one
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       dose fit all.” No further studies were reported regarding blood concentrations of
       rivaroxaban or blood thinner effect prior to US FDA approval.
   •   When approved for use by the US FDA, the sales force from Bayer/Janssen with
       whom I interacted would cite ROCKET-AF as evidence that clinical testing
       (effect of the blood thinner) was not needed and that rivaroxaban had a
       large therapeutic window.
   •   When I asked for the dose-finding data that supported the ROCKET-AF dose, or
       for evidence of blood thinner effects across populations of people, I was told that
       the medication dosing was “internally validated” but not published or
       publicly available.
   •   When I was managing patients in particularly difficult situations, such as patients
       taking rivaroxaban awaiting emergent surgery or patients who developed blood
       clots despite taking rivaroxaban, and I asked for help/advice for testing
       anticoagulant effect, I was told that no approved testing was available to help
       me guide my decision.


THE DATA AVAILABLE             TO    HELP    ME    COUNSEL       MY    PATIENTS      WAS
INCOMPLETE

With a strong marketing push from Bayer and Janssen, rivaroxaban quickly became a
popular topic of conversation in my clinic, where I treat many patients with atrial
fibrillation. I would use the available sources of information to help educate my patients,
namely the published clinical trial (ROCKET-AF), the rivaroxaban product insert, and my
local Bayer/Janssen representatives. However, over time, each of these proved to be
incomplete and misleading.

A) The Clinical Trial—

       The control arm of ROCKET-AF using warfarin underperformed

In the ROCKET-AF trial, rivaroxaban was compared against warfarin in a randomized
fashion. It is very important to note, however, that the clinical management of warfarin
(quality of the INR blood tests, frequency of the INR blood tests, decisions regarding
dose adjustment) directly influences the effectiveness and safety of warfarin. In short, a
“warfarin” control group is both the drug and the management.

The standard way to describe warfarin management is “Time in Therapeutic Range
(“TTR”). Higher TTR has been associated with better outcomes (i.e., fewer strokes and
bleeds). The therapeutic range for INR of atrial fibrillation patients on warfarin is
universally accepted to be 2-3. It is also nearly universally recognized by applicable
authorities and guidelines that an INR greater than 4 necessitates a dose reduction in a
warfarin treated patient. In previous warfarin vs. NOAC trials, the TTR were 62%
(ARISTOTLE) and 64% (RE-LY). In previous warfarin vs. aspirin trials, the TTR were
70% (SPAF), 74% (AFASAK) an 83% (BAATAF).


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ROCKET-AF had the lowest TTR for any warfarin trial (55%). Because of such poor
warfarin management, the results of ROCKET-AF are inherently biased in favor of
rivaroxaban. This was specifically noted in the FDA Summary Review Memorandum,
specifically the two reviewers who recommended against approval of Xarelto for the
atrial fibrillation indication based in part on the low TTR in ROCKET-AF. This was
addressed in the Xarelto labeling with the following language: “There is insufficient
experience to determine how XARELTO and warfarin compare when warfarin therapy is
well-controlled.”

       US-only centers had better results with warfarin than rivaroxaban

One oft-cited reason for substandard warfarin management in ROCKET-AF is the heavy
use of sites in developing countries. The FDA had the opportunity to review country-
specific results for ROCKET-AF, and predictably, for sites where warfarin TTR was
better, the clinical outcomes of rivaroxaban were less favorable when compared to
warfarin.

In ROCKET-AF subjects in the US, where the TTR was 64%, there was a 28%
increased risk of the primary safety endpoint for rivaroxaban as compared to warfarin, a
50% increased risk of major bleeding, and a 61% increased risk of transfusion, all of
which were statistically significant. However, despite these alarming and certainly
relevant results, the US label did not relay this information to prescribers until
September 2015. (November 2011 Xarelto Approval Label; September 2015 Xarelto
Label)

       The warfarin point-of care testing device used in ROCKET-AF was flawed

The ROCKET-AF clinical trial compared Xarelto to the active comparator, warfarin. The
safety and efficacy of warfarin is dependent upon appropriate monitoring and dose
adjustments. The warfarin arm of ROCKET was monitored using a defective point-of-
care (POC) INRatio device.

The defective POC INRatio device underreported true INR values, which resulted in the
overanticoagulation of warfarin patients and therefore caused additional bleeds. The
device used in ROCKET has been removed from the market as unfit for use. At two
timepoints during the ROCKET trial, INR values were analyzed using two methods. One
sample was analyzed using the defective POC INRatio device, while the second sample
(collected in the same patient, at the same time) was analyzed by a central laboratory.
A comparison of these two values reveals that the POC device malfunctioned in a large
portion of warfarin patients, to a degree of clinical significance. For example, in the table
below, one can see that 28.5% of the patients identified by the central laboratory as
having an INR greater than 4 were misclassified by the POC device as being below
therapeutic range or within therapeutic range.




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(EMA CHMP Assessment Report, Feb. 5, 2016)

Such misclassification of INR values in warfarin treated patients would unwittingly result
in improper overdosage and resulting bleeds. Therefore, it is my opinion that the bleed
rate of the warfarin patients, and therefore any comparison with the bleeding rate of
rivaroxaban patients, is flawed. (EMA CHMP Assessment Report, Feb. 5, 2016; FDA
ROCKET AF Reanalysis, Sept. 26, 2016; Patel, et al., Point-of-care warfarin monitoring
in the ROCKET AF trial, NEJM, 2016; Powell, Letter to the Editor, Point-of-care warfarin
monitoring in the ROCKET AF trial, NEJM, 2016; Patel, et al., Author’s Reply to Letter
to the Editor, Point-of-care warfarin monitoring in the ROCKET AF trial, NEJM, 2016)

B) The Product Label
The rivaroxaban product label failed to properly inform physicians regarding the risk of
major and non-major clinically relevant bleeding.

       No “black box warning” for bleeding risk

Warfarin carries a “black box” warning on its product label for risk of severe bleeding
since 2007. Rivaroxaban, which carries similar risks, does not have a similar warning in
its product label. This incorrectly implies to prescribers and patients that rivaroxaban is
safer to use than warfarin.

       US FDA should highlight US data from ROCKET-AF, when available

Because the ROCKET-AF trial compared rivaroxaban to poorly-managed warfarin, it
should not be assumed that similar effects would be seen when rivaroxaban was used
in the US. Because US-specific data was available, where warfarin use was better
regulated, the product label should include specific mention of how rivaroxaban
compares to US-warfarin use. In this light, rivaroxaban would perform statistically worse
in terms of safety endpoints, which would be a very important statement for prescribers
like me to share with patients. This information was not added to the US label until
2015, after being requested to do so by the FDA. (XARELTO_JANSSEN_00000344).

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       No pharmacokinetic data

The rivaroxaban label fails to present patient variability data (especially 5-95th
percentiles of plasma concentrations or drug effect). Disclosing the following information
would certainly help a prescriber, like me, make an informed decision about whether
rivaroxaban is indeed safe to administer to all patients without monitoring: variability in
drug concentration per patient over time (pharmacokinetics); variability in effect of the
medication, as measured by prothrombin time (PT); correlation between high PT levels
and increased risks of bleeding; that a commercially-available blood test (PT, with
specific reagents) correlated closely with drug concentration and bleeding effect; or that
“super-responders” exist, with very high blood thinning effect compared with the general
population taking this medication (see below).

      No advice on how to test, even if I wanted to do so. No advice on clinically
actionable recommendations regarding bleeding events.

The rivaroxaban label fails to include the proper instructions for use of the drug, in that it
does not state how to test and interpret blood test results for the anticoagulant effect. If
we could identify patients who have very high concentrations or strong blood-thinning
effects of the drug, we could discontinue the drug or choose a lower dose so as to avoid
unnecessary risk of harm. I have been involved in several critical clinical situations
where a blood test result of anticoagulant effect would be the key factor in deciding
whether a patient is deemed safe to go to the operating room for emergent surgery, if
such testing and guidance were available. Undoubtedly, patients have suffered because
of the lack of ability to test and interpret the anticoagulant effect of rivaroxaban.


C) The Bayer/Janssen Sales Representatives—

As described above, when rivaroxaban was approved, the marketing focused on once-
daily dosing, no need for blood testing (because of consistent intra-patient variability),
and a broad therapeutic window (resulting in consistent inter-patient variability across
populations of patients).

       Rivaroxaban is a better twice-daily dose

With a half-life of 5-13 hours, conventional pharmacologic strategies would suggest that
rivaroxaban would be best suited as a twice-daily rather than once-daily dose regimen.
In fact, rivaroxaban is used as twice-daily regimen for other indications (treatment of
venous thromboembolism or pulmonary embolism). Benefits of once-daily dosing over
twice-daily dosing would be better patient compliance and strategic marketing
advantages against other twice-daily dosed oral anticoagulants. For my patients,
however, I want the safest and best dose possible. For drugs with such a short half-life,
a twice-daily dosing strategy intuitively provides a more consistent drug effect without
risks of “overshoot.” The FDA has supported this position as well. (FDA Summary
Review Memorandum, NDA 202439)


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Figure 5. Once-daily vs. Twice-daily dosing: simulated plasma concentration of an
anticoagulant drug with ~12 hour half life using either once-daily (green) or twice-daily
(red) dosing strategy. (Vrijens and Heidbuchel, Europace, 2015)




Compared to a twice-daily smaller dose, a once-daily larger dose of rivaroxaban will
result in periods of time whereby patients are at increased risk of bleeding effect.
Moreover, the continuity of drug effect is greater with twice-daily dosing.

       Narrow therapeutic window

It is incorrect and misleading to market that rivaroxaban has a broad therapeutic index.
Rivaroxaban, as with all oral anticoagulants, has an intrinsically narrow therapeutic
index. This is largely due to the severity of the outcomes that can occur if too little effect
is present (stroke or systemic embolism) or if too much on an effect is present (severe
bleeding). Careful dose selection is needed to achieve optimal benefit/risk balance. The
US FDA shares similar opinions regarding anticoagulants intrinsically having a narrow
therapeutic index by declaring that all anticoagulants “are intrinsically narrow
therapeutic range drugs because their principal toxicity, bleeding, is a result of their
intended pharmacodynamics activity; too low a dose results in inadequate prevention of
pathological thrombosis and consequent serious clinical events and too high a dose
results in excessive inhibition of physiologic clotting and excessive bleeding.” (FDA
Summary Review Memorandum, NDA 202439)

       Inter-patient variability

Unlike the message that is shared by the sales team, rivaroxaban seems to have at
least a moderate inter-patient variability. There were no phase 2 dose-finding studies for
patients with AF; rather, the phase 2 dose-finding studies were performed in patients
undergoing treatment for the prevention of deep venous thrombosis (DVT) for only a
few weeks at a time. From these studies, the dose of 20mg once-daily was estimated
based on computer modeling from patients in these studies. However, in these studies,

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the exposure to the medication is short (only during the post-operative time period). In
AF, the exposure to medication is life-long, and the risks related to bleeding may not be
fully appreciated in such a short-exposure time course. In short, it is not appropriate to
use the short duration DVT studies to ascertain lifetime risks for patients with AF taking
rivaroxaban. As described by Dr. Mueck, a chief scientist in rivaroxaban development,
the “inter-individual variability in pharmacokinetics was moderate (30–40%) and
was consistent over the 12-week duration of the studies.” (Mueck, Clinical
Pharmacokinetics, 2014)

Computer modeling of human dose response makes for graphs that visually appear that
there is little inter-patient variability. For example, here is a graph that was shared with
me when I asked Janssen/Bayer representatives for evidence of plasma concentrations
in users of rivaroxaban:

Figure 6. Population-based computer modeling of rivaroxaban concentration




(Mueck, Clinical Pharmacokinetics, 2014)

However, in healthy subjects who took 20mg doses and had blood concentrations of
rivaroxaban checked periodically, the half-life of the medication ranged from 4.79 to
36.43 hours (Figure 7), which is an enormous range.




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Figure 7. Pharmacokinetic parameters of rivaroxaban in healthy subjects after
escalating doses




(Mueck, Clinical Pharmacokinetics, 2014)

Clinically speaking, if rivaroxaban were taken at this dose, over time patients at the
extremes of the plasma half-lives will either have inadequate levels or supratherapeutic
levels of rivaroxaban in their blood, leaving them at increased risk of stroke or bleeding
events, respectively.

Computer simulations can demonstrate very predictable and reproducible curves for
many different populations of patients, as it represents each patient population as a
single line (patient-population-level). In truth, at a patient-level, the distribution of
concentrations in the blood is considerably more scattered. This is shown in the two
figures below (Mueck, Clinical Pharmacokinetics, 2011, online supplement) where
individual patient plasma concentration levels are represented as a point and computer
modeling predicted a range within 90% of patients’ plasma concentrations.




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Figure 8. Plasma concentrations for patients taking rivaroxaban at escalating doses at
various time points during day 1 and day 21 (note the points at very high
concentrations, [red arrows] corresponding to “super-responders.”).




Figure 9. Plasma concentrations for patients taking rivaroxaban at three different doses
on day 1 (2-4 hours post-dose), day 43 (20-24 hours post-dose) and day 84 (2-8 hours
post-dose).




(Mueck, Clinical Pharmacokinetics, 2011, online supplement)


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Most importantly, across each dose that was tested (10, 20, 30, 40 mg doses) and
across every time point tested (day 1, 21, 43, 84) there were “outliers” that
demonstrated very high plasma concentrations or very low plasma
concentrations. These patients are at risk for bleeding events and stroke or
systemic embolism, respectively.

This wide inter-patient variability is further confirmed in a small subset of patients from
the ROCKET-AF study (161 patients) in whom blood tests were drawn (Girgis, Journal
of Clinical Pharmacology, 2014). Blood plasma levels for patients taking rivaroxaban
was measured and compared to computer modeling for expected populations. While the
authors concluded that the computer modeling was largely accurate, again seen were
significantly wide ranges of plasma concentrations and bleeding effect among patients
taking the same dose of rivaroxaban.

Figure 10. Plasma concentrations for patients taking rivaroxaban in ROCKET-AF.




(Girgis, Journal of Clinical Pharmacology, 2014)

Each blue dot represents a single patient, showing the blood plasma concentration at
timepoints after a 20mg dose of rivaroxaban. At each time point, there are wide ranges
of plasma concentrations of rivaroxaban, demonstrating a large inter-patient variability.
Most importantly, 24 hours after drug exposure, when patients are preparing to take
their next pill, some patients still have very high levels of rivaroxaban in their blood (at
risk for bleeding). Also, some patients have very low levels of rivaroxaban in their blood
throughout the day (at risk for stroke).

Notably, these important rivaroxaban variability data in ROCKET-AF are not in the label.




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How Could We Deliver Rivaroxaban to Our Patients in the Safest and Best Way?

Using a patient-specific concentration graph as an example (Figure 11), one can see
that just three hours after the first dose of 20mg rivaroxaban, some patients have an
exaggerated response (concentration in excess of 500 mcg/L) and others have
essentially no response to the medication (<50 mcg/L).

Figure 11. Rivaroxaban plasma concentration variation after a single 20mg dose




(Mueck, Clinical Pharmacokinetics, 2011, online supplement)

A single blood test at this time point would identify the “outliers” who are at
excess risk for bleeding or stroke. This excess risk related to rivaroxaban use is
largely preventable.

Therapeutic Drug Monitoring

Having the ability to accurately monitor the anticoagulant effect and level is a necessary
tool to safely administer oral anticoagulants across different patient populations,
especially with medications that have widely variable plasma concentrations between
patients.

However, mitigating this excess risk comes with a clear cost: excess complexity for
starting a medication is an impediment, and doctors would be less likely to prescribe
this medication, especially if other similar blood thinners did not require this additional
testing step. While additional testing would clearly improve the safety and efficacy for
patients, it would cost Bayer/Janssen in market share and drug sales. Per the FDA
advisory committee, up to 25% of patients enrolled into ROCKET-AF were exposed to
very high levels of rivaroxaban, as evidenced by PT values > 20 seconds. If a similar
number or rivaroxaban users were identified in the real world populations to be at high
risk for bleeding, one might easily conclude that these patients would switch blood
thinners to other more predictable and less potent anticoagulants, which could be a very
large loss of market share for Bayer/Janssen.



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Xarelto is a highly effective drug; however, it confers common serious side effects in the
form of bleeding events. According to data contained in the Xarelto clinical trial
experience, and as confirmed in real-world observational studies, Xarelto is responsible
for tens of thousands of major bleeding events requiring hospitalization, and even some
resulting in death. In light of this backdrop, any means to improve the safety profile of
Xarelto should be aggressively pursued. (Patel, NEJM, 2011; Graham, JAMA, 2016;
Halvorsen, European Heart Journal, 2016)

There is a near linear correlation between rivaroxaban drug concentration and
Prothrombin Time (PT), thus indicating that PT could be used as a surrogate marker for
exposure. This opinion is shared with the FDA, who compiled the below figure in their
review of the atrial fibrillation indication for rivaroxban:




(FDA Briefing Information, Cardio Renal Advisory Committee Meeting, NDA 202439,
Sept. 8, 2011)

Furthermore, there is no evidence of increasing efficacy with increasing exposure to
rivaroxaban. The FDA again corroborates this opinion.




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(FDA Briefing Information, Cardio Renal Advisory Committee Meeting, NDA 202439,
Sept. 8, 2011)

Notably, the FDA concluded that “the risk of major bleeds increases with PT,” thereby
confirming the relationship between PT and bleeding.




(FDA Briefing Information, Cardio Renal Advisory Committee Meeting, NDA 202439,
Sept. 8, 2011)




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In sum, there is no evidence of additional benefit with highest anticoagulant effect with
rivaroxaban. However, there is evidence of additional bleed risk with higher
anticoagulant effect.

Accordingly, it is my opinion that the PT lab test, with the appropriate reagent, collected
at the appropriate time, is a helpful and necessary method of identifying my patients at
the highest risk of suffering a Xarelto-related bleeding event. In fact, my opinion was
echoed by the FDA:

      The clinical pharmacology and clinical reviewers demonstrated that
      there is a linear correlation between rivaroxaban levels and prothrombin
      time (PT). They also demonstrated that there is also a correlation
      between PT and risk of bleeding. This applicant has not chosen to
      utilize this information… However, infrequent monitoring… to assure
      appropriate dosing of drugs that prevent stroke and cause bleeding
      may improve outcomes and be acceptable to patients.

      (FDA Summary Review Memorandum, NDA 202439)

Thus, while the FDA took the position that additional blood testing (PT) can be used to
evaluate exposure to improve outcomes, Bayer/Janssen have failed to include such
information in the label.




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